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                 Exhibit 1
Trademark Policy - Neo4j Graph Database
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    Trademark Policy

    The name and trademarks of Neo Technology, Inc. and its subsidiaries (“Neo Technology”) signals a
    quality scalable graph database. Neo Technology is proud of its reputation for excellent software products,
    and wishes to maintain that reputation for the beneft of Neo Technology and its open source community.
    This trademark policy (the “Trademark Policy”) describes the ways in which all of the trademarks, service
    marks, and logos of Neo Technology relating to the Neo Technology products such as Neo4j
    (“Trademark(s)”) may or may not be used. The Trademarks are:


       Neo4j
       Cypher
       Neo Technology


    If you use any of the Trademarks, you mus abide by this Trademark Policy. We encourage communication
    to prevent misundersandings. If you have any quesions or comments, please contact us as described at
    the end of the Trademark Policy.


    Neo Technology’s Trademark Policy attempts to balance two competing interess: Neo Technology’s need
    to ensure that its Trademarks remain reliable indicators of quality, and Neo Technology’s desire to permit
    community members to contribute to the development and success of the Neo Technology software.
     Striking a proper balance can be difcult, and we hope this Trademark Policy will help us to do that.


    Underlying Neo Technology’s Trademark Policy is the general law of trademarks. Trademarks exis to help
    consumers identify the source or origin of products. When a company makes a good product or a bad one,
    consumers begin to associate those qualities with the name and trademarks of that company. The
    reputation of a company can be a key factor in a user deciding to use one product or another. Allowing
    others to place a company’s trademarks on other people’s products can afect this reputation. Trademark
    law exiss, at leas in part, to help users avoid being confused about the source and quality of the goods
    they are using.


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    Neo Technology software, which is created and/or disributed by Neo Technology and thus properly bears
    the Trademarks, is the software in the exact binary form that it is disributed by Neo Technology, without
    modifcation of any kind. To the extent any authorized modifcations are made to the software, such
    modifed software should no longer bear the Trademarks. The public has a right to know when it is
    receiving a genuine Neo Technology product that is quality assured by Neo Technology.


    Uses that Are Not Approved by This Trademark Policy

    The following uses are not allowed. If you feel you need to use the Trademarks as described below, and
    have a legitimate reason to do so, please contact us. Some such uses may be acceptable under a
    separate written license agreement between you and Neo Technology. However, Neo Technology will
    decide this at its discretion on a case-by-case basis.


       Certain web uses. You must not use any Trademark in a web page title, titletag, metatag, or other
       manner with the intent or the likely effect of influencing search engine rankings or results listings.
       Combination marks. You must not use any Trademark in a manner that creates a “combined mark,” or
       use that integrates other wording with the Trademark in a way that the public may think of the use as a
       new mark (e.g., SuperNeo4j, or Neo4j Lite by me)
       Company names. You must not use any Trademarks as part of your company name, trademark, or
       logo.
       Domain names. If you want to include all or part of a Neo Technology Trademark in a domain name,
       you must first receive written permission from Neo Technology. This includes uses for user groups,
       developer groups, or international groups. We may approve many such uses, but we need to do this on
       a case-by-case basis.
       Misuse. You must not use the Trademarks in a manner that is unethical, offensive, disparaging, illegal,
       or in bad taste.


    Uses Permitted Under This Trademark Policy

    In all cases you mus use the Trademark only as permitted by this Trademark Policy and only as authorized
    in, and subject to, a separate written license agreement between you and Neo Technology. Also, if you use
    the Trademarks in violation of this Trademark Policy in any way, Neo Technology may revoke your right to
    use the Trademarks.


    Services Related to Neo Technology Software

    If you ofer services related to Neo Technology software, unless you have entered into a separate written
    license agreement between you and Neo Technology, you may only use Neo Technology’s Trademarks in
    word form to describe and advertise your services, so long as you do not sugges that you are the origin of
    the Neo Technology software or have otherwise been authorized by Neo Technology to provide services
    related to the Neo Technology software. For example, your web site might say “Training services for the

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    Neo Technology software available here.” It mus not say “Neo Technology services sold here,” or “cusom
    Neo Technology software available here.”


    Proper trademark use

    If you use the Trademarks as described in this Trademark Policy, here is how they should be used.


       Proper form. Neo Technology’s Trademarks should be used in their exact form, neither abbreviated nor
       combined with any other word or words. Do not vary the spelling, add hyphens, make one word into two,
       or use possessive or plural forms of the Trademarks. Do not abbreviate a trademark to create an
       acronym. When using a logo, you must never modify the design, add or delete any words, or change any
       colors or proportions. The logo may only be scaled proportionally. The logo may in it’s entirely be
       displayed using the exact colors used by Neo Technology or shown at http://neo4j.com/style-guide.
       Use of word mark. We encourage you to use the word form of the Trademark (as opposed to the logo),
       because using the word form is easier to do without violating this policy. You may use the word form of
       the Trademarks – Neo4j and Cypher. No other capitalization should be used. Use of the word form of the
       trademark should be in the same font and style as the surrounding text.
       Trademarks are adjectives. Always use the Trademarks as adjectives, and not as a verb or noun or in
       the possessive or plural forms. Examples of proper use: Neo4j Software, Neo4j Software application.
       Examples of improper use: Custom Neo4j or I Neo4j-ed my system.
       Accompanying symbol. The first or most prominent mention of a Neo Technology Trademark should
       be accompanied by a symbol indicating whether the mark is a registered trademark (“R”) or an
       unregistered trademark (“tm”).
       Attribution. The fact that the Trademarks are owned by Neo Technology should be stated (e.g., “[Neo4j]
       is a trademark of Neo Technology, Inc.”) in a footnote or similar place, in reasonably legible position and
       size.
       Separation. The Neo Technology logos must be used as standalone icons, without any other third-party
       logos and/or trademarks combined or associated with them. A margin of at least the size of [describe
       letter or graphical feature of the logo] on the logo should be left empty around the logo in the background
       color of the displayed logo.


    Possible Infringements. Please help us by reporting any possible infringement of any Trademark by
    contacting us at the e-mail address below.
    webinfo@neotechnology.com


    Policy Updates

    Neo Technology reserves the right to modify this Trademark Policy at any time. You should review this
    Trademark Policy from time to time so that you will be aware of any updates. Any updates will apply as
    soon as they are posed on this page.

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    Quesions

    Neo Technology has tried to make this Trademark Policy as comprehensive and undersandable as
    possible. If you are considering a use of a Trademark that is not covered by the policy, and you are unsure
    whether that use would run afoul of this Trademark Policy, please feel free to contact us. Also, we welcome
    your suggesions as to how to make this Trademark Policy better and more workable for our community.
    We like hearing from you!


    Updated October 13, 2015




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